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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


SEN ZHANG,
                                                     Case No. 24-cv-13052

               Plaintiff,                            Judge John J. Tharp, Jr.

v.                                                   Magistrate Judge Keri L. Holleb Hotaling

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A TO THE COMPLAINT,

               Defendants.



                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses without prejudice all causes of action in the Complaint against the following Defendants:


                             Defendant Seller Alias                DOE No.
                                  Alger Mat                          54
                                  Fly Bohan                          61
                                    LXBL                             65


Each party shall bear their own attorney’s fees and costs. Defendants have not filed an answer or

a motion for summary judgment in this matter. Therefore, it is respectfully submitted that dismissal

under Rule 41(a)(1)(A)(i) is appropriate.




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Date: March 20, 2025                        Respectfully submitted,

                                            /s/ Keaton Smith
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                                            Counsel for Plaintiff




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